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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

RICK REID,                                     §
                                               §
Plaintiff,                                     §
v.                                             §
                                               §            C.A. NO. 3:20-CV-02581-B
DRIFTWOOD HOSPITALITY                          §
MANAGEMENT, LLC,                               §
                                               §
Defendant.                                     §
                                               §


                         ORDER ON JOINT MOTION TO DISMISS


                                       17th day of November, 2020, the Joint Motion to
        Came on for consideration this _____

Dismiss (the “Motion”), wherein the moving parties move the Court to dismiss the claims of the

Plaintiff with prejudice, with each of the parties to bear their own attorneys’ fees, costs and

expenses incurred in this cause. The Court, having reviewed the Motion, is of the opinion that

the Motion should be GRANTED.

        IT IS FURTHER ORDERED that Plaintiff’s claims are dismissed with prejudice, with

each of the Parties to bear their own attorneys’ fees, costs and expenses incurred in this cause.

          November 18, 2020
Signed on _________________.



Approved as to Form and Substance:

By: /s/ Latrice E. Andrews
   Latrice E. Andrews, Counsel for Plaintiff

By: /s/ Matthew E. Last (w/ permission)
   Matthew Last, Counsel for Defendant




AGREED ORDER TO DISMISS                                                                PAGE 1 OF 1
